              Case 3:12-cv-04162-SC Document 11 Filed 11/16/12 Page 1 of 3




1
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3
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5
     Attorney for Plaintiff
6
                        UNITED STATES DISTRICT COURT
7
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
8
     MILO ZUCCHI AND DARLISA            ) Case No. CV12-04162 -SC
9
     ZUCCHI,                            )
10                                      ) JOINT STIPULATION TO DISMISS
            Plaintiff,                  ) WITH PREJUDICE
11
                                        )
12           vs.                        )
                                        )
13
     CREDIT COLLECTION SERVICES, )
14   INC.                               )
                                        )
15           Defendant.                 )
16   __________________________________ ) ________________________________
           NOW COME THE PARTIES by and through their attorneys to respectfully
17

18   move this Honorable Court to dismiss with prejudice this matter pursuant to Federal
19
     Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own costs and
20
     expenses. A proposed order has been concurrently submitted to this Court via email.
21

22                      Respectfully submitted this 16th day of November, 2012
23
                                        By: s/Todd M. Friedman
24                                          Law Offices of Todd M. Friedman, P.C.
25                                          Attorney for Plaintiff
26
                                        By: s/David Kaminski
27                                          Carlson & Messer, LLP
                                            Attorney for Defendant
28




                                      Stipulation to Dismiss- 1
              Case 3:12-cv-04162-SC Document 11 Filed 11/16/12 Page 2 of 3




1
     Filed electronically on this 16th day of November, 2012, with:

2    United States District Court CM/ECF system
3
     Notification sent electronically via the Court’s ECF system to:
4

5    David Kaminski
6
     CARLSON & MESSER LLP
     5959 W. Century Blvd
7    #1214
8    Los Angeles CA 90045
9
     This 16th day of November, 2012.
10
     s/Todd M. Friedman
11
     Todd M. Friedman
12

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                                      Stipulation to Dismiss- 2
              Case 3:12-cv-04162-SC Document 11 Filed 11/16/12 Page 3 of 3




1
                        UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
2
     MILO ZUCCHI AND DARLISA            ) Case No. CV12-04162 -SC
3
     ZUCCHI,                            )
4                                       ) ORDER
            Plaintiff,                  )
5
                                        )
6            vs.                        )
                                        )
7
     CREDIT COLLECTION SERVICES, )
8    INC.                               )
                                        )
9
             Defendant.                 )
10   __________________________________ ) ________________________________
11

12
           IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties
13
     to dismiss this case with prejudice pursuant to Federal Rules of Civil Procedure
14
     41(a)(1)(A)(ii), the entire case is dismissed with prejudice. Each party shall bear
15
     their own costs and expenses.
16

17
                                                      16
                                          Dated this ____day of November, 2012.
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21                                                    IT IS SO O
                                            The Honorable Samuel Conti
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                                                         NO




                                                                           Judge S
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                                                          RT




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                                        Order to Dismiss - 1
